      Case 2:21-cv-00347-SAB      ECF No. 14-3    filed 04/22/22   PageID.98 Page 1 of 3




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15                 IN THE UNITED STATES DISTRICT COURT
16
                 FOR THE EASTERN DISTRICT OF WASHINGTON

17   EQUAL EMPLOYMENT
     OPPORTUNITY COMMISSION                      CIVIL ACTION NO. 2:21-cv-00347-SAB
18

19                   Plaintiff,
20                                               [PROPOSED] ORDER
                      v.
21
                                                 APPROVING CONSENT DECREE
22   AIR CONTROL HEATING & AIR
     CONDITIONING, INC. d/b/a AIR
23   CONTROL HEATING &
24   ELECTRIC, INC.
25
                     Defendant.

26
          The Court, having considered the foregoing stipulated agreement of the
     parties, HEREBY ORDERS THAT the Consent Decree be, and the same hereby is,

     EEOC v. AIR CONTROL HEATING & AIR CONDITIONING         EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                       909 FIRST AVE., SUITE 400
     2:21-cv-00347-SAB                                                SEATTLE, WASHINGTON 98104
     [PROPOSED] ORDER APPROVING CONSENT DECREE                           PHONE (206) 220-6884
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     Page 1 of 3                                                          TDD (206) 220-6882
      Case 2:21-cv-00347-SAB       ECF No. 14-3   filed 04/22/22   PageID.99 Page 2 of 3




 1   approved as the final decree of this Court in full settlement of this action. This
 2   lawsuit is hereby dismissed with prejudice and without costs or attorneys’ fees.
 3   The Court retains jurisdiction of this matter for purposes of enforcing the Consent
 4   Decree approved herein.
 5

 6
                  DATED this _____ day of ____________ 2022.
 7

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                                      _________________________________________
10
                                      THE HONORABLE STANLEY A BASTIAN
11                                    UNITED STATES DISTRICT JUDGE
12

13
     PRESENTED this 22nd day of APRIL 2022 by:
14

15   EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
16

17    ROBERTA STEELE                              CHRISTOPHER LAGE
      Regional Attorney                           Deputy General Counsel
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19    DAMIEN A. LEE                               GWENDOLYN YOUNG REAMS
      Supervisory Trial Attorney                  Associate General Counsel
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21    MAY R. CHE                                  EQUAL EMPLOYMENT
      Senior Trial Attorney                       OPPORTUNITY COMMISSION
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25
      BY: /s/ May Che
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      May Che
      Senior Trial Attorney

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     Case 2:21-cv-00347-SAB   ECF No. 14-3   filed 04/22/22     PageID.100 Page 3 of 3




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     EEOC v. AIR CONTROL HEATING & AIR CONDITIONING       EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
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